 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 1 of 12 PageID #:24035




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

STATE OF ILLINOIS,                                   )
                                                     )
       Plaintiff,                                    )
                                                     )      Case No. 17-cv-6260
v.                                                   )
                                                     )      Judge Rebecca Pallmeyer
CITY OF CHICAGO,                                     )
                                                     )
       Defendant.                                    )

     THE CITY OF CHICAGO’S STATUS REPORT FOR INDEPENDENT MONITOR
                       REPORTING PERIOD 9 (IMR-9)

       Defendant City of Chicago, by and through one of its attorneys, Jennifer K. Bagby, Deputy
Corporation Counsel for the City of Chicago, respectfully submits the City of Chicago’s (“City’s”)
Status Report for Reporting Period 9, pursuant to Consent Decree paragraph 680.
       Consent Decree paragraph 680 provides that “[b]eginning with the Monitor’s first report
filed with the Court, and for each subsequent semiannual report by the Monitor, the City agrees to
file a status report one month before each of the Monitor’s reports is due for the duration of this
Agreement. The City’s status report will delineate the steps taken by CPD during the reporting
period to comply with this Agreement, and the CPD’s assessment of the status of its progress
implementing this Agreement.”
                                        BACKGROUND
       The Consent Decree is a negotiated settlement agreement between the City and the State
of Illinois that requires the City, through the Chicago Police Department (CPD) and other City
agencies, to institute a series of reforms designed to build public trust between officers and the
communities they serve through the delivery of police services in a manner consistent with
applicable laws and in a manner that respects individual’s rights. Compliance with the Consent
Decree is assessed by the Monitor (“IMT”) every six months in the “Independent Monitor Reports”
or IMRs. IMR-9 represents the period of July 1, 2023, through December 31, 2023.
       Compliance is generally assessed by the IMT in three levels – preliminary, secondary, and
full or operational. The general methodology for achieving preliminary compliance is that a policy
exists that addresses the requirements of a particular Consent Decree paragraph. The general

                                                1
 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 2 of 12 PageID #:24036




methodology for achieving secondary compliance is that at least 95% of relevant CPD members
have received an approved training covering the policy (and therefore Consent Decree)
requirements. Finally, the general methodology for achieving full or operational compliance
requires evaluating whether the policy and training are achieving the requisite goals or objectives.
It is also important to stress that each CPD policy and training covered by the Consent Decree
requires review and approval by the IMT and Office of Attorney General (OAG).         The City and
CPD typically do not obtain full compliance with any provisions of the Consent Decree without
first achieving preliminary compliance through the policy development, review, and
implementation process and then achieving secondary compliance through the development,
review, and approval of training that is then administered to 95% of required department members.
        The Consent Decree includes the following sections: Community Policing; Impartial
Policing; Crisis Intervention; Use of Force; Recruitment, Hiring, and Promotion; Training;
Supervision; Officer Wellness and Support; Accountability and Transparency; Data Collection,
Analysis, and Management; and the newly added Investigatory Stops, Protective Pat Downs, and
Enforcement of Loitering Ordinances. CPD’s Reform efforts, and Consent Decree compliance
efforts are led by the Office of Constitutional Policing and Reform (OCPR). OCPR is staffed by
sworn and civilian members who work on policy; training; community engagement; data
collection and analysis; auditing; and project management for the entire Consent Decree. OCPR
works with subject matter experts within CPD and external experts where necessary to address the
specific topics covered by the Consent Decree. Below are highlights of the steps taken by CPD
and the status of its progress through IMR-9 by Consent Decree section. Each section and
paragraph call for different materials to establish or maintain compliance. The information below
is meant to highlight the work undertaken by CPD during the latest six-month reporting period to
comply with the requirements of the Consent Decree and to summarize CPD’s progress in
implementing the Agreement. Accordingly, this report does not capture all of the work and
accomplishments made by CPD through the efforts of its sworn and civil members committed to
doing this work during this reporting period.
   I.      COMMUNITY POLICING
        Goals:
        Among the goals of the Community Policing section are the integration of a community
policing philosophy into CPD operations to build public trust and confidence in CPD and ensure

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 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 3 of 12 PageID #:24037




constitutional and effective policing as well as officer and public safety. Additionally, CPD is to
ensure that its community policing philosophy is a core component of police services, crime
reduction strategies and tactics, training, management, resource deployment, and accountability
systems.
         CPD Ongoing Work:
         CPD’s ongoing Beat and District Area Council (DAC) meetings, District and Bureau
Strategic Plans, Youth District Advisory Councils (YDAC), Quarterly Reports to the Community
Policing Advisory Panel (CPAP), Victim Services, Affinity Liaisons, and School Resource Officers
all contribute to meeting the goals of the Community Policing section of the Consent Decree.
         CPD Consent Decree Progress and Achievements in IMR – 9:
         CPD finalized and presented to the IMT a proposal to take a more directed approach to the
community engagement process for policy development and review. CPD worked collaboratively
with the City’s Department of Family and Support Services (DFSS) on Youth Diversion and in
the process were able to move Youth Processing Centers closer to families and service providers.
These locations have dedicated rooms that have a more accessible design and aesthetics for youth.
CPD also contracted with a vendor to utilize a risk assessment tool for youth diversion that allows
data to be sent directly to service providers. CPD has engaged in review and revisions on its
Interactions with Youth and Children policy (G02-05) with the IMT and OAG and anticipates
implementing the policy by the end of 2023 to gain preliminary compliance with paragraph 32.
Additionally, the completion of the Recruit Juvenile Processing Training and the Custody, Arrests,
Booking and Detention Training should achieve additional levels of compliance with paragraphs
20 and 31. Finally, CPD’s Annual Community Policing Report, CPAP Quarterly Reports, as well
as ongoing Beat and DAC meetings should result in increased compliance levels for paragraphs
16, 22, 23, and 24.
   II.      IMPARTIAL POLICING
         Goals:
         Among the goals of the Impartial Policing section are for CPD to deliver police services to
all members of the public without bias and to treat all people with dignity and respect. To achieve
these goals, CPD is to build partnerships with community members supporting the effective
delivery of police services and provide clear policy, training, and supervision to its members in



                                                  3
 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 4 of 12 PageID #:24038




order to deliver police services in a manner that promotes community trust and ensures equal
protection of the law to all individuals.
          CPD Ongoing Work:
          CPD continues to incorporate principles of impartial policing into policies and trainings as
they are developed, including the Department Training Directives Policy Suite; Hate Crimes
eLearning; Taser Training; Communications in Police Environment eLearning; and De-escalation,
Response to Resistance, Use of Force Training. Additionally, CPD continues to expand its use of
Language Line to communicate with members of the public with limited English proficiency as
its Limited English Proficiency policy is updated.
          CPD Consent Decree Progress and Achievements in IMR-9:
          The Chicago Hearing Society conducted training with CPD personnel, furthering direction
on the policy related to interacting with persons with disabilities (S02-01-01). CPD submitted the
Limited English Proficiency policy (S02-01-05) to the IMT and OAG and with nearly 1,000
community member surveys and extensive outreach to 12 community – based organizations
including the Mexican Consulate, the HANA Center, and the Polish American Association. CPD
continued work to revise its Search Warrant policies, which should be finalized and implemented
in IMR-10. CPD successfully trained over 95% of required Department members in numerous
trainings, including Constitutional Policing Training, Fair and Impartial Policing Training, Hate
Crimes eLearning, Communications in Police Environment eLearning, ABLE Refresher Training,
Prohibition on Retaliation eLearning, to support increased compliance levels with paragraphs 52,
53, 54, 55, 56, 57, 58, 59, 61, 68, 69, 71, 72, 74.
   III.      CRISIS INTERVENTION
          Goals:
          To ensure that CPD members interact with persons in crisis with dignity and respect, use
trauma-informed techniques to respond appropriately, and to prevent unnecessary criminal justice
involvement for individuals in crisis.
          CPD Ongoing Work and Consent Decree Progress and Achievements in IMR-9:
          Throughout IMR-9, CPD continued to provide CIT Basic and Refresher Training and CIT
Recruit Concepts Training to support increased levels of compliance with paragraphs such as 95,
96, 97, 98, 100, 101, 102, 103. CPD finalized and implemented the suite of policies “Recognizing
and Responding to Individuals in Crisis” (S04-20) and continued to revise its policy related to the

                                                      4
 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 5 of 12 PageID #:24039




Crisis Intervention Team (CIT) Program (S05-14). CPD’s CIT Coordinator attended all necessary
training and maintained all necessary certifications. CPD officers continued to staff some of the
City’s CARE Teams. Finally, CPD evaluated its CIT Program and chose to return to the “Memphis
Model” which involves specialized CIT training only for officers who volunteer to be a part of the
response teams for crisis incidents.
   IV.      USE OF FORCE
         Goals:
         CPD’s use of force policies as well as training, supervision, and accountability systems are
to ensure that CPD officers use force in accordance with federal law, state law, and the
requirements of the Consent Decree; that officers apply de-escalation techniques to prevent or
reduce the need to use force where safe and feasible; that officers only use objectively reasonable
force that is necessary and proportional; and that any use of unreasonable force is promptly
identified and responded to appropriately.
         CPD Ongoing Work:
         CPD continues to collect and to report Use of Force Data in both a public facing dashboard
and regular published reports. CPD’s Tactical Review and Evaluation Division (TRED) continues
to review certain use of force incidents, firearm pointing incidents, and foot pursuits.
         CPD Consent Decree Progress and Achievements in IMR-9:
         CPD anticipates gaining operational compliance with paragraph 181 through the BIA 2023
Annual Prescribed Weapons Qualification Report.            Throughout IMR-9, CPD engaged in
operational compliance discussions with the IMT and OAG to establish the methodologies and
plans for operational compliance with additional paragraphs in the Use of Force section. CPD
contracted with the University of Texas - San Antonio to assist in achieving compliance with the
Use of Force data analysis required by paragraphs 572 and 573. CPD streamlined the Force
Review Board presentations by creating a template to ensure effective presentations that address
all Consent Decree and SOP requirements. CPD finalized and implemented a revised Use of Force
Policy Suite after extensive work with the IMT, OAG, and community engagement. CPD has
revised its Body Worn Camera (BWC) policy (S03-14) and anticipates implementing the revised
policy by the end of IMR-9 which should achieve increased levels of compliance with paragraphs
236, 237, 238, 239, 240, 241. Additionally, over 95% of required CPD members completed the
following training courses: Use of Force, ICAT, LEMART, Constitutional Policing, EVOC.

                                                  5
 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 6 of 12 PageID #:24040




Completion of these training courses supports or achieves increased levels of compliance with the
following paragraphs: 153, 155, 156, 167, 207, 213, 229, 236, 237, 238, 239, 243. Finally, the
review by 95% of supervisors of CPD’s Tactical Review and Response Division’s 2022 Annual
Report supports increased levels of compliance with paragraphs 223, 224, 225, 226, 227, 228, 229,
230, 231, 233, 234, 235, 243, 248.
   V.      RECRUITMENT, HIRING, AND PROMOTION
        Goals:
        To recruit, hire, and promote officers who are qualified to meet the complex needs of law
enforcement and who reflect a broad cross section of the City.
        CPD Ongoing Work:
        CPD worked with Purpose Brand Marketing to launch a marketing campaign focused on
attracting “non-traditional” candidates. CPD continued to work with Olive-Harvey Community
College on the “Pathway to Policing,” a pipeline to attract students interested in joining CPD.
Finally, CPD is participating in the 30x30 Initiative, a coalition of police leaders, researchers, and
professional organizations who have joined together to advance the representation and experiences
of women in all ranks of policing in the United States.
        Due to the unique human resources structure within the City, the responsibilities for
Recruitment, Hiring, and Promotions are divided between CPD, the City’s Department of Human
Resources (DHR), and the City’s Department of Public Safety Administration (OPSA). CPD’s
responsibilities are primarily limited to recruitment; however, DHR, OPSA, and CPD worked
together to form a Police Promotions Committee and a Recruit Hiring Committee towards
achieving the goals of this section of the Consent Decree.
        CPD Consent Decree Progress and Achievements in IMR-9:
        The CPD Recruitment Strategic Plan establishes increased compliance with paragraphs
254, 258, and 259. Several Standard Operating Procedures (SOPs) and Interagency Policies
(IAPs) were completed within and between CPD, DHR, and OPSA which support increased
compliance throughout the section, including with paragraphs 253, 254, and 256. Finally, the City
retained DCI Consulting to complete the independent expert assessment of its Sergeant and
Lieutenant promotions process as required by paragraph 261.




                                                  6
 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 7 of 12 PageID #:24041




   VI.      TRAINING
         Goals:
         Training of CPD members, both recruits and active members, is essential to ensure that
members are policing diligently, safely, and with an understanding of and commitment to the
constitutional rights of all individuals they encounter. Additionally, at this stage of the Consent
Decree, CPD must provide all non-probationary police officers who are active duty and available
for assignment forty hours of in-service training annually. This training must consist of a minimum
of 24-hours of in-person mandatory courses.
         CPD Ongoing Work:
         In 2023, CPD transitioned to delivering the required training hours in the calendar year, all
while planning and developing the necessary training for 2024 and the upcoming Democratic
National Convention (DNC). CPD increased engagement for the 2024 Training Needs Assessment
through a survey with the University of Chicago Survey Lab and increased distribution of the
survey; survey participation by the Training Oversight Committee (TOC) leadership and the
Training Community Advisor Committee (TCAC); participation requests to external stakeholders
such as the Fraternal Order of Police (FOP), Civilian Office of Police Accountability (COPA),
Department of Law (DOL), and Community Commission for Public Safety and Accountability
(CCPSA). The TOC achieved increased engagement and deliberation due to the development of
subcommittees, additional supervisor involvement in the subcommittees and increased
presentations by the subcommittees.         The TCAC, comprised of community organizations,
education professionals, and advocates for community programming, supplies CPD with feedback
on specific training topics and materials and provides advice to CPD on trainings that should be
conducted. Finally, CPD continued the ongoing development, review, and revision of lesson plans
for 2024 Training Courses, needed to meet the mandatory 40-hours for 2024 and to prepare for the
DNC.
         CPD Consent Decree Progress and Achievements in IMR-9:
         CPD achieved the required 95% of Department members completing 40-hours of annual
in-service training for calendar year 2023. This is a tremendous accomplishment as 2023 was the
first year since the pandemic that the training hours were completed in the calendar year. The 40-
hours of training included the following courses: Constitutional Policing, Officer Wellness, 2023
Use of Force Training, and Fair and Impartial Policing. In addition to compliance with the overall

                                                   7
 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 8 of 12 PageID #:24042




training requirements of paragraphs 320, 321, and 323, these trainings support increased
compliance levels in other Consent Decree sections. Finally, CPD’s Annual In-Service Supervisor
Training, required by paragraph 337, was completed by 95% of required Department members and
included the Department’s civilian supervisors.
   VII.     SUPERVISION
       Goals:
       To provide effective supervision necessary for members to perform their duties lawfully,
safely, and effectively. Additionally, supervisors are to have the opportunity to spend time with
members under their supervision to allow them to prevent, identify, and correct adverse officer
behavior.
       CPD Ongoing Work:
       Expansion of the Unity of Command and Span of Control Pilot to include both the 6th and
4th Districts. Expansion of the Performance Evaluation System (PES) to include both the 6th and
4th Districts. Project planning and scope of work development for CPD’s Workforce Allocation
and Staffing Studies. The launch of the Unity of Command / Span of Control Tableau Dashboard.
       CPD Consent Decree Progress and Achievements in IMR-9:
       Review by supervisors of the 2022 TRED Year End Report supports increased levels of
compliance with paragraphs 349, 351, 352. Creation of a Watch Application Spreadsheet supports
increased levels of compliance with paragraphs 362, 363, 364, and 367.
   VIII. OFFICER WELLNESS AND SUPPORT
       Goals:
       Psychological and emotional wellness are critical to officers’ health, relationships, job
performance, and safety and are necessary to achieve a healthy, effective, and constitutionally
compliant police force. CPD is to provide its members with adequate support systems to treat
members experiencing mental health, substance abuse, and other emotional challenges as well as
to cope with the consequences that come from their service to the public.
       CPD Ongoing Work:
       Two new Professional Counseling Division facilities were opened to provide services at
more convenient locations – one on the north side and one on the south side. CPD completed the
delivery of new gym equipment to each District and developed and furnished Quiet Rooms in each
District. The Wellness and Resilience Training was implemented for CPD’s civilian employees in

                                                  8
 Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 9 of 12 PageID #:24043




addition to its sworn members. CPD implemented a voluntary wellness check-in for officers as
well as implemented the use of the CORDICO Wellness app for all members. Finally, CPD added
a police clinician supervisor position.
         CPD Consent Decree Progress and Achievements in IMR-9:
         The Officer Wellness Needs Assessment, the 2023 Officer Wellness Support Plan with
Communications Strategy and Suicide Prevention Initiative, Professional Counseling Report to the
Superintendent, Professional Counseling Division Weekly Meeting Check-in Data, licensed
clinicians and counselors, peer support meetings, and completion of the 2023 Wellness In-Service
training each support increased levels of compliance with certain paragraphs in this section
including paragraphs 382, 383, 384, 385, 386, 388, 389, 391, 396, 399, 400, 402, 404,413, and
414.
   IX.      ACCOUNTABILITY AND TRANSPARENCY
         Goals:
         Officer accountability for misconduct is essential to public confidence, employee safety,
and officer morale. CPD and other City agencies are to ensure the process for submitting and
pursuing complaints that allege violations of CPD policy or the law by CPD members is open and
accessible for all individuals who wish to file complaints.
         CPD Ongoing Work:
         CPD has requested 30 civilian investigator positions in the 2024 budget to increase staffing
and allow for prompt investigation of complaints within CPD’s jurisdiction. CPD created and
distributed a survey to each reporting party and accused party of all Administrative Summary
Reports at the conclusion of an investigation. CPD continued the development, revision, and
consultation with a subject matter expert regarding CPD’s policy on Firearms Discharge and
Officer Involved Incident Response (G03-06).
         CPD Consent Decree Progress and Achievements in IMR-9:
         The review, revision, and approval of one – hour blocks of training for BIA investigators
through collaboration with the IMT. The delivery of eight hours of the approved trainings to BIA
investigators which supports increased levels of compliance with the following paragraphs: 424,
425, 426, 427, 428, 429, 431, 432, 435, 436, 437, 438, 440, 443, 447, 450, 455, 462, 464, 465,
466, 467, 469, 477, 478, 486, 494, 503, 505, 506, 507, 508, 509, 513, 514, 515, 516, 517, 552.
CPD completed the Prohibition on Retaliation eLearning by training over 95% of required

                                                  9
Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 10 of 12 PageID #:24044




department members, supporting increased levels of compliance with paragraphs 436, 437. CPD
implemented policies concerning the Complaint and Disciplinary Systems (G08-01), Complaint,
Disciplinary Investigators and Investigations (S08-01), Preliminary Investigations (G04-01), and
Conducting Log Number Investigations (S08-01-05) which support increased levels of compliance
with the following paragraphs: 431, 451, 480, 526, 527, 528, 529, 530, 531, 544, 553.
   X.       DATA COLLECTION, ANALYSIS
         Goals:
         The ability of CPD to collect and analyze data is necessary to engage in critical self-
examination and to identify issues and correct them as well as necessary for transparency and
increased public trust.
         CPD Ongoing Work and IMR-9 Progress and Achievements:
         The data requirements of the Consent Decree encompass the entire Agreement thus CPD
continues to consider the data collection and analysis within each section of the Consent Decree.
In IMR-9, CPD completed an assessment of its information mechanisms consistent with paragraph
606. This assessment touched on all sections of the Consent Decree and CPD sought input from
the IMT and OAG in the process. As mentioned above, CPD contracted with the University of
Texas – San Antonio to conduct the Use of Force data assessment required by paragraphs 572 and
573 and CPD streamlined the Force Review Board presentations by creating a template to ensure
effective presentations that address all Consent Decree and SOP requirements. Additionally, CPD
developed a Use of Force Dashboard Implementation Plan which supports increased levels of
compliance with paragraphs 569, 572, 574. Finally, CPD’s OSS Supervisor Training was delivered
to over 95% of required supervisors, supporting increased levels of compliance with paragraphs
583, 584, 585, 586, 587, 588.


   XI.      INVESTIGATORY STOPS, PROTECTIVE PAT DOWNS, ENFORCEMENT
            OF LOITERING ORDINANCES

         Goals:
         The Consent Decree was expanded by way of stipulation to include investigatory stops,
protective pat downs, and enforcement of the City’s Loitering Ordinances. The stipulation requires
CPD to monitor, report, review, train, and implement accountability measures to ensure that when
conducting investigatory stops and protective pat downs and when enforcing the City’s loitering

                                               10
Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 11 of 12 PageID #:24045




ordinances, CPD members act in a manner that complies with the Constitution, the laws of the
United States, and the laws of the State of Illinois and that CPD members act without bias and treat
all people with dignity.
       CPD’s Ongoing Work and IMR-9 Progress and Accomplishments:
       The stipulation was entered by the Court on June 27, 2023, bringing certain paragraphs
into assessment in IMR-9. Additionally, foundational work continues on the requirements that are
not yet under assessment. CPD produced drafts of the policy suites as required by paragraph 868
and have received comments back from the IMT and OAG. CPD anticipates returning the revised
policy suites to the IMT and OAG before the end of IMR-9. CPD responded to the
recommendations by the community groups involved in the community engagement project as
contemplated by paragraph 865. CPD continues to publish annual ISR data as required by
paragraph 834 and produces monthly data to the IMT and OAG. CPD has completed the pre-
stipulation backlog review as required by paragraph 854 and continues to work on the reviews
since the entry of the stipulation as described in paragraph 857. Further, CPD’s ongoing “Know
Your Rights Campaign” as required by paragraph 28, includes the rights of members of the public
when stopped by the police, as required by paragraph 866. The current “Know Your Rights
Campaign” can be found here: https://home.chicagopolice.org/transform/rights/
Finally, CPD and the City continue to work with the IMT and OAG on how and when certain
paragraphs related to the stipulation should be assessed.


                                         CONCLUSION
       As highlighted above, CPD has continued the work of reform and its Consent Decree
compliance efforts throughout IMR-9, building on its efforts over the past three reporting periods.
The City and CPD expect to see increased levels of compliance in the IMT’s report for IMR-9 as
they continue to plan the work for IMR-10.


                                      RESPECTFULLY SUBMITTED


                              BY:     /s/ Jennifer K. Bagby
                                      Jennifer K. Bagby
                                      Deputy Corporation Counsel



                                                11
Case: 1:17-cv-06260 Document #: 1139 Filed: 12/28/23 Page 12 of 12 PageID #:24046




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                                CERTIFICATE OF SERVICE

         I, Jennifer Bagby, certify that on December 28, 2023, I served the foregoing document on
all parties of record by filing it using this Court’s CM/ECF system.

                                            /s/ Jennifer K. Bagby
                                            Jennifer K. Bagby




                                               12
